                     Case 4:19-cv-07123-PJH Document 90 Filed 06/05/20 Page 1 of 2



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               WHATSAPP INC. and FACEBOOK, INC.
          18
                                           UNITED STATES DISTRICT COURT
          19
                                        NORTHERN DISTRICT OF CALIFORNIA
          20
               WHATSAPP INC., a Delaware corporation,     Case No. 4:19-cv-07123-PJH
          21   and FACEBOOK, INC., a Delaware
               corporation,                               DECLARATION OF DANIEL J. GROOMS
          22
                                                          PURSUANT TO LOCAL RULE 79-5(E)
                                         Plaintiffs,
          23
                              v.
          24
               NSO GROUP TECHNOLOGIES LIMITED
          25   and Q CYBER TECHNOLOGIES LIMITED,
          26                             Defendants.
          27

          28
  COO
                                                                  DECLARATION OF DANIEL J. GROOMS (79-5(E))
ATTO RN
 SAN F
                                                         1.                    CASE NO. 4:19-CV-07123-PJH
                     Case 4:19-cv-07123-PJH Document 90 Filed 06/05/20 Page 2 of 2



           1          I, Daniel J. Grooms, declare:

           2          1.      I am a partner with the law firm of Cooley LLP and counsel for Plaintiffs WhatsApp

           3   Inc. (“WhatsApp”) and Facebook, Inc. in this matter. I make this declaration pursuant to Local Rule

           4   79-5(e) in response to King & Spalding’s Administrative Motion to File Under Seal, filed on May 29,

           5   2020. The information in this declaration is based on my personal knowledge of this matter and

           6   information I obtained following a reasonable investigation of the events described below. If called

           7   as a witness, I could competently testify to the truth of each statement.

           8          2.      Exhibits 1 to 25 to the Declaration of Robert M. Thornton (the “Exhibits”) (ECF No.

           9   79-24) consist entirely of information relating to King & Spalding’s prior representation of WhatsApp

          10   that is protected by the attorney-client privilege and/or the work product doctrine. Further, Lines i:6,

          11   1:22-23, 2:21, 4:22-23, 4:25, 5:2, 5:6, 5:8-9, 5:10, 5:11-12, 8:7, 9:27, 15:3, and 17:12 of King &

          12   Spalding’s Opposition to WhatsApp’s Motion to Disqualify (the “Opposition”) (ECF No. 79-4), which

          13   King & Spalding marked for redaction because they would reveal the nature of the prior representation,

          14   also contain information from the prior representation that is covered by attorney-client privilege

          15   and/or the work product doctrine. WhatsApp accordingly supports sealing the Exhibits and the

          16   excerpts from the Opposition identified herein on the grounds that this information is protected by the

          17   attorney-client privilege and/or the work product doctrine.

          18          I declare under penalty of perjury that the foregoing is true and correct. Executed on June 5,

          19   2020, in Falls Church, Virginia.

          20                                                  /s/ Daniel J. Grooms
                                                              Daniel J. Grooms
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  COO
                                                                             DECLARATION OF DANIEL J. GROOMS (79-5(E))
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